                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,
                                                      Case No. 22-cr-00007-LKG-1
                 v.

 MARILYN J. MOSBY,

                        Defendant



         DEFENDANT’S MOTION TO CONTINUE TRIAL, DEFENSE EXPERT
                  DISCLOSURES AND MOTIONS IN LIMINE

       Comes now Defendant, Marilyn J. Mosby, by and through undersigned counsel, and

respectfully moves this Court to continue trial in this matter, as well as defense deadlines for expert

disclosures, and Motions in Limine. This Motion is made pursuant to the Court’s Scheduling Order

(Dkt. No. 19) requiring a motion showing good cause to modify the trial. As explained herein,

such good cause exists. In support thereof, counsel states as follows:

       1.      On March 30, 2022, this Court held a Telephonic Status Conference. Dkt. No. 31.

On that same date, this Court issued an Amended Scheduling Order. Dkt. No. 37. That Order

stated, in relevant part, that defense expert disclosures are due on or before Noon, Eastern Standard

Time, on April 4, 2022, with Motions in Limine due on that same date. The Court further

confirmed this matter for Jury trial beginning on May 2, 2022.

       2.      At said Status Conference the Court expressed concern that the current schedule in

this matter may not be tenable. The Courts concern not only stemmed from the current briefing

schedule, but also due to the possibility of additional briefing between the parties, including related

to certain outstanding Brady issues. For these reasons, the Court expressed that moving the trial

date in this matter to September, given the Court’s schedule between now and then, was likely.

Upon further consideration and reflection, Ms. Mosby agrees with the Court.


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       3.      Under these circumstances, the defense cannot meet the Court’s current deadlines.

While counsel have identified experts for the defense,1 given the lack of clarity by the government

in the identification of its experts, its “rolling production” and voluminous nature of discovery

recently produced by Government counsel,2 much of which must be reviewed by said expert(s) in

order for them to provide a written summary of their opinions, the defense will be unable to comply

with the Court-imposed deadline of 12 p.m. on Monday.

       4.      Moreover, counsel must first sift through recently provided discovery in order to

identify relevant motion(s) in limine. Again, this cannot be accomplished within the current time

frame set forth by the Court.

       5.      For these reasons, counsel submits that good cause has been shown and respectfully

requests that the Court sign the attached Proposed Order, and continue the trial date in this matter,

as well as the deadline for filing of defense expert disclosures and motions in limine.3 Counsel

proposes that the Court maintain the current April 14, 2022 motions hearing, and that new

deadlines for motions in limine and defense expert disclosures be set at that time.

       6.      Clearly, the government has significantly contributed to the relief requested herein.

Nevertheless, counsel for Ms. Mosby has consulted with the government, and the government has

authorized counsel to state that it opposes this request.4



1
 As the Court is aware, there are certain matters, properly filed under seal, in connection with the
defense expert(s) as well as the scope of the work that they may undertake.
2
 The most recent batch of discovery was produced by the Government on March 29, 2022, the
day before the Status Conference.

3
 Defendant has no objection to the entry of an Order tolling the Speedy Trial Clock between
now and the start of trial in September, 2022 in this matter. 18 USC § 3161(h)(7).
4
 The Court’s Amended Scheduling Order also requires that Government motions in limine are
due on April 4, 2022, that their motions to exclude be filed no later than April 6, 2022 and that

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       WHEREFORE, for the foregoing reasons, counsel for Defendant request that the Court

enter the attached Proposed Order, continuing the trial date, as well as defense deadlines for the

disclosure of experts and motions in limine.



Dated: April 1, 2022                   Respectfully submitted,

                                       /s/ A. Scott Bolden

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their responses to any motions in limine be filed by April 18, 2022. Defendant would have no
objection to the Court also continuing these dates, pending the April 14, 2022 hearing.

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                                CERTIFICATE OF SERVICE

       I certify that, on April 1, 2022, this document was electronically filed with the Clerk of

Court using the Court’s CM/ECF system, which will then serve a notification of the filing to the

registered parties of record.



                                                   /s/ A. Scott Bolden
                                                   A. Scott Bolden




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